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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                    Gregory Green,
                       Plaintiff
                          v.                                                Civil Action No.       4:21-cv-01876-RBH
           Horry, South Carolina, County of,
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                                                                    )



                          Defendant.

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 ’ the plaintiff (name)          recover from the defendant (name)             the amount of                          dollars ($ ),
which includes prejudgment interest at the rate of   %, plus postjudgment interest at the rate of                   %, along with
costs.

O The plaintiff, Gregory Green, shall take nothing of the defendant, Horry, South Carolina, County of, and this action is
dismissed without prejudice.


This action was (check one):

’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Judge R. Bryan Harwell, Chief United States District Judge, presiding, adopting with the
Report and Recommendation of the Honorable Paige J. Gossett, United States Magistrate Judge, which recommended
dismissing the action.

Date: October 21, 2021                                                     ROBIN L. BLUME, CLERK OF COURT


                                                                                                  s/L. Baker
                                                                                        Signature of Clerk or Deputy Clerk
